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 8

 9                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11   SUSAN JOHNSON and CHRISTI                      Case No.
     MCCRACKEN, individuals,
12                                                  COMPLAINT FOR:
                    Plaintiffs,
13                                                    (1)     DECLARATORY JUDGMENT;
            vs.
14                                                    (2)     INJUNCTIVE RELIEF; AND
     GIGSMART, INC., a Delaware
15   corporation,                                     (3)     VIOLATION OF CALIFORNIA’S
                                                              UNFAIR COMPETITION LAW [BUS. &
16                  Defendant.                                PROF. CODE §§ 17200 – 17209 ET.
                                                              SEQ.]
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18

19          Plaintiffs Susan Johnson (“Johnson” or “Plaintiff”) and Christi McCracken (“McCracken”
20   or “Plaintiff”) (collectively “Plaintiffs”) hereby allege on information and belief against Defendant

21   Gigsmart, Inc. (“Gigsmart” or “Defendant”) as follows:

22                      I.        INTRODUCTION AND NATURE OF ACTION

23          1.      Defendant is a staffing company that provides hourly workers to businesses.

24   Gigsmart advertises pre-vetted, reliable workers available at a moment’s notice without the

25   formality of interviews or traditional hiring models for companies in need of extra labor. So called

26   “shift gigs” are carried out by relatively low-skilled workers like Plaintiffs. Gigsmart misclassifies
27   its workers as independent contractors and not employees which violates a host of California laws

28   protecting workers and providing minimum wages.
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 1          2.      On March 1, 2024, Plaintiffs filed a Class and Representative Action Complaint in

 2   Alameda Superior Court challenging Gigsmart’s classification of its staffing employees as

 3   independent contractors and seeking available remedies under California law (the “Underlying

 4   Action”). See Ex. 1 (Class and Representative Action Complaint filed in the Underlying Action).

 5   Plaintiffs served the complaint in the Underlying Action on March 27, 2024.

 6          3.      On April 4, 2024, Gigsmart initiated two arbitration proceedings with the American

 7   Arbitration Association. See Ex. 2 and Ex. 3 (the “Arbitration Proceedings”). The Arbitration

 8   Proceedings seek declaratory and injunctive relief finding that the Plaintiffs agreed to arbitrate all

 9   disputes between Plaintiffs and Defendant in Cincinnati, Ohio under Ohio law based on Gigsmart’s
10   Terms of Use and End User License Agreements last revised 1/30/24 (“Terms of Use”). In short,

11   rather than move to compel arbitration in the Underlying Action, Gigsmart seeks a declaration

12   from an arbitrator that its Terms of Use compel all actions brought by Plaintiffs to go forward in

13   arbitration in Ohio under Ohio law.

14          4.      On April 10, 2024, Plaintiffs advised that, pursuant to Labor Code section 925, they

15   are voiding the out-of-state (Ohio) venue and choice of law clauses contained in the Terms of Use

16   to the extent these clauses were ever valid in the first place. Relatedly, Plaintiffs asked Gigsmart

17   to confirm by April 12, 2024 that it accepted and understood that Ohio law and Ohio venue were

18   no longer enforceable such that the Arbitration Proceedings should be withdrawn. As of today’s

19   date, the Arbitration Proceedings have not been withdrawn and Gigsmart has not confirmed that
20   its out-of-state venue and choice of law clause is void or otherwise invalid. Gigsmart’s refusal to

21   withdraw the Arbitration Proceedings and acknowledge that its choice of venue and choice of law

22   clauses are void has caused Plaintiffs to shoulder the time and expense of dealing with and

23   responding to these illegal attempts. This harm will continue until this Court determines the legal

24   obligations of the parties under the Terms of Use and enjoins Defendants’ out-of-state arbitration

25   proceedings.

26          5.      Gigsmart’s efforts to enforce its void and illegal out-of-state choice of law and
27   venue clauses should be declared illegal and should be enjoined. The parties never validly agreed

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 1   to litigate California employees’ employment claims out of state under another state’s laws and

 2   even if they had, the voiding of the agreements means they are not currently enforceable.

 3          6.      For these reasons, the Court should enter a declaratory judgment finding that the

 4   parties did not agree to arbitrate employment claims out of state under Ohio law and should enjoin

 5   Gigsmart from proceeding with the Arbitration Proceedings. Without the Court’s intervention,

 6   Plaintiffs will be forced to continue to undertake the significant expense of defending themselves

 7   in an inconvenient and unlawful forum.

 8                                II.     JURISDICTION AND VENUE

 9          7.      This Court has subject matter jurisdiction over the matter in controversy, exclusive
10   of interest and costs, exceeds the sum or value of $75,000, and is between citizens of different

11   States. If forced to arbitrate in Ohio under Ohio law, Plaintiffs will incur in excess of $75,000 in

12   attorney’s fees to address the matter. Also, the underlying state court action which Defendant seeks

13   to compel to arbitration through its arbitration demands has a value well in excess of $75,000.

14   Gigsmart seeks to eliminate that value via its arbitration demand.

15          8.      Venue is proper in the Northern District of California pursuant to 28 U.S.C. Section

16   1391(b) through (d), because Gigsmart is authorized to conduct business in this District and has

17   intentionally availed itself of the laws and markets within this District; does substantial business

18   in this District; and is subject to personal jurisdiction in this District. The business and activities

19   which are the subject of this litigation are being conducted throughout the State in each and every
20   District on a uniform and consistent basis. Gigsmart is also seeking to interfere with the Underlying

21   Action in Alameda County through the Arbitration Proceedings thereby directing its illegal and

22   unenforceable efforts towards the Northern District.

23                                         III.    THE PARTIES

24          9.      Johnson is and at all relevant times was a resident of California. She worked for

25   Gigsmart to provide staffing services in this state also.

26          10.     McCracken is and at all relevant times was a resident of California. She worked for
27   Gigsmart to provide staffing services in this state also.

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 1           11.     GigSmart, Inc. is a Delaware corporation with a principal business address at 999

 2   18th Street, Suite 1750S, Denver, Colorado 80202. On information and belief, it has no connection

 3   to Cincinnati, Ohio at all despite attempting to force all disputes between it and its workers to

 4   individual arbitration here and under Ohio law. Gigsmart carries out substantial business in this

 5   District and is subject to personal jurisdiction in this District.

 6                                  IV.     GENERAL ALLEGATIONS

 7           A.      Gigsmart is a presumptive employer that misclassifies its staffing employees

 8                   as “independent contractors.”

 9           12.     Under California’s test for being an employee or an independent contractor, a hiring
10   entity like Gigsmart must establish that its workers are free from its control in performing their

11   work and that they provide services outside of the usual course of the hiring entity’s business.

12   Gigsmart is a staffing company that tightly controls its workers like Plaintiffs and cannot meet its

13   burden to disprove an employment relationships.

14           13.     Gigsmart operates a staffing company which “allows business to directly access

15   on-demand workers for short and long-term jobs[.]” https://gigsmart.com/about-us/. GigSmart is

16   available in all 50 states across the United States. https://help.gigsmart.com/what-cities-are-you-

17   available-in-requesters.

18           14.     To book Gigsmart’s Workers, Gigsmart’s clients must first create an account with

19   Gigsmart from their web browser or through the Gigsmart app. The client then posts a gig to
20   Gigsmart. Vetted Workers then accept the posted gig. https://help.gigsmart.com/what-is-gigsmart-

21   requesters. When Gigsmart’s clients pay Gigsmart for its Workers’ services, Gigsmart retains

22   ~20% of the payment. Gigsmart’s clients are often in the warehousing, catering, restaurant, retail,

23   logistics,    delivery,    construction,    landscaping,      and    facility   services   industries.

24   https://gigsmart.com/.

25           15.     To fulfill its customers’ staffing requests, Gigsmart maintains a network over one

26   million Workers “across all industries and positions” with “experience aligned with [the client’s]
27   specific needs.” https://gigsmart.com/hire-workers/temporary-staffing/. Plaintiffs were two such

28   Workers.
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 1           16.     Needing to satisfy its customers and to provide the staffing services they want,

 2   Gigsmart retains and exercises a great deal of control over its Worker workforce. For example,

 3   Gigsmart sets start and stop times for work, requires location tracking and data-enabled smart

 4   phones during work hours, punishes or terminates workers for not timely responding to potential

 5   gig assignments, punishes or terminates workers for failing to show up for gig shifts once accepted,

 6   and retaining discretion to not pay for shifts if the worker is late.

 7           17.     Integral to Defendant’s staffing business, Defendant utilizes the labor of Workers,

 8   like Plaintiffs and the Class they seek to represent, to carry out gig services for Gigsmart’s third-

 9   party customers. Gigsmart labors Workers as “independent contractors.” In short, these Workers
10   perform a central part of Gigsmart’s staffing business: the labor for Gigsmart’s customers for

11   which the customers contract with Gigsmart to staff. The work of Workers is necessary to

12   Gigsmart’s staffing business and is continuously performed for Gigsmart. Further, Gigsmart holds

13   itself out as a staffing business. Workers are naturally an essential component of Gigsmart’s

14   business model.

15           18.     Gigsmart strictly controls and regulates Workers. Workers must follow the terms

16   of Gigsmart’s onerous Terms of Use along with other written instructions from Gigsmart. Under

17   these operating requirements and standards, Gigsmart exerts control and direction on Workers in

18   connection with the performance of their staffing services, both in contract and in fact.

19           B.      Plaintiffs brought the Underlying Action to hold Gigsmart accountable for its
20                   violations of California labor laws.

21           19.     As noted in the Introduction, Plaintiffs filed a class and representative action against

22   Gigsmart to seek damages and penalties stemming from its violations of California’s employment

23   laws. See Ex. 1.

24           C.      Gigsmart initiated the Arbitration Proceedings to try to force Plaintiffs to

25                   arbitrate their claims out-of-state under Ohio law.

26           20.     Despite being a Deleware incorporated company with a principal office in Colorado
27   and with no apparent connection to Ohio, Gigsmart’s Terms of Use require arbitration of any

28   claims between Gigsmart and its workforce which “shall be conducted in Cincinnati, Ohio.”
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 1   Furthermore, the governing law between the parties under these terms is “the laws of the State of

 2   Ohio. . . .”

 3           21.    The choice of venue and choice of law clauses are void for two independent

 4   reasons. First, under Labor Code section 925, it is illegal to force a California worker to, as a

 5   condition of employment, agree to forgo the protections of California law or to adjudicate claims

 6   outside of this state. Any provision violating these rules is voidable at the employee’s request.

 7           22.    Plaintiffs both voided any consent they may have expressed for Ohio law to apply

 8   or for resolving claims out-of-state. This occurred via an email correspondence between Plaintiffs’

 9   counsel and Gigsmart’s counsel on April 10, 2024. Gigsmart has not accepted the voiding of this
10   provision or agreed to halt the out-of-state arbitration proceedings it filed in Ohio necessitating

11   this action.

12           23.    Second, under ordinary choice of law principles, there is no binding agreement to

13   resolve the claims at issue in Ohio under Ohio law. Initially, there is no necessary substantial

14   relationship between the parties and Ohio nor is there a reasonable basis for the choice of law

15   clause. As noted above, Defendant is a DE company based in CO. Plaintiffs are California citizens

16   who worked for Gigsmart exclusively in this state. It is entirely unclear how Ohio law or venue

17   has any relationship to this case. Plaintiffs’ best guess is that Gigsmart hired lawyers from Ohio to

18   write its Terms of Use and they simply put Ohio law down out of habit despite the entire lack of

19   connection between the relevant transaction and the state of Ohio.
20           24.    Even if there were a substantial relationship between Ohio and this case, applying

21   Ohio law to claims by California employees is contrary to California public policy. Employment

22   laws are very important to this state and proper worker classifications are important not just for

23   the workers involved, but also for society at large. Misclassifying workers deprives them of

24   minimum wages and other labor protections like workers’ compensation. It robs the state and

25   federal government of needed tax revenues. And it is unfair to law abiding competitors who are at

26   a disadvantage when they follow the law and pay full wages.
27           25.    While Ohio has no interest in seeing its laws applied to California workers,

28   California has a large interest in seeing its laws apply in this context.
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 1                                 V.      FIRST CAUSE OF ACTION

 2                                      For a Declaratory Judgment
 3          26.     Plaintiffs incorporate by reference each and every allegation contained above.

 4          27.     Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq. this Court is

 5   authorized to enter a judgment declaring the rights and legal relations of the parties and grant

 6   further necessary relief.

 7          28.     An actual, present, and justiciable controversy exists between Plaintiffs and

 8   Gigsmart concerning their respective rights and duties. Plaintiffs allege that no enforceable choice

 9   of law or choice of venue clause exists in the Terms of Use whereas Gigsmart seeks to arbitrate in
10   Ohio under Ohio law and has filed the Arbitration Proceedings to try to accomplish that.

11          29.     Because Plaintiffs voided any (illegal) choice of law or choice of venue clauses in

12   the Terms of Use and, separately because basic choice of law principles warrant applying

13   California law and not Ohio, the Court should enter judgment for Plaintiffs.

14          30.     Pursuant to its authority under the Declaratory Judgment Act, this Court should

15   therefore enter a judgment declaring that the choice of law and choice of venue clauses in the

16   Terms of Use are void or otherwise not enforceable.

17                                VI.    SECOND CAUSE OF ACTION

18                                          For Injunctive Relief

19          31.     Plaintiffs incorporate by reference each and every allegation contained above.
20          32.     Gigsmart filed the Arbitration Proceedings asserting claims for declaratory relief

21   with the American Arbitration Association in Ohio. Unless enjoined, Gigsmart will continue to

22   pursue such efforts and claims to relief.

23          33.     Unless Gigsmart is enjoined from pursuing its Ohio efforts and claims, Plaintiffs

24   will suffer irreparable harm because they will be forced to continue to incur the expense of

25   defending themselves in Ohio in the arbitration proceedings. Gigsmart should be prevented from

26   foisting upon Plaintiffs an arbitration process to which it has no contractual right.
27          34.     Gigsmart will suffer no irreparable harm in the event an injunction issues. Gigsmart

28   can move to compel arbitration of the Underlying Action in the normal course of that litigation. If
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 1   it can demonstrate a valid arbitration agreement with a valid choice of venue and choice of law

 2   clause, the court presiding over that action will make such a determination.

 3             35.   The balance of equities weighs in favor of an injunction.

 4             36.   The public interest would be served by enjoining Gigsmart from pursuing its Ohio

 5   claims when the Alameda court is already presiding over the Underlying Action and the inherent

 6   arbitration and choice of law/venue defense Gigsmart may raise there. As noted above, California

 7   law aims to protect workers and society at large through its employment laws governing

 8   employment relationships in this state. The public interest would be served by adhering to this

 9   strong public policy, and thus enjoining Gigsmart’s efforts in Ohio.
10                                 VII.    THIRD CAUSE OF ACTION

11                       For Violation of California’s Unfair Competition Law –

12                            Business and Professions Code § 17200 et seq.

13             37.   Plaintiffs incorporate by reference each and every allegation contained above.

14             38.   The Unfair Competition Law (“UCL”) defines unfair business competition to

15   include any “unlawful, unfair or fraudulent” act or practice. Unfair practices include those that are

16   “immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers.”

17   Alternatively, unfair practices are those that violate a public policy as declared by specific

18   constitutional, statutory, or regulatory provisions.

19             39.   As discussed above, Gigsmart seeks to enforce venue and choice of law clauses
20   within the Terms of Use against Plaintiffs that are illegal and otherwise violate California public

21   policy.

22             40.   As a result of these unfair business practices, Plaintiffs have suffered injury in fact

23   and a loss of money or property in terms of having to defend themselves in proceedings in Ohio

24   under Ohio law, despite Gigsmart lacking any contractual right to bring such an action in that

25   forum or under those laws.

26             41.   Pursuant to Business and Professions Code §17204, Plaintiffs and the general
27   public are entitled to an order of this Court enjoining Gigsmart’s misconduct, and any other orders

28   and judgments that may be necessary to provide for complete equitable restitution to Plaintiffs.
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 1   Plaintiffs and the general public will be irreparably harmed or denied an effective and complete

 2   remedy if such an order is not granted.

 3                                   VIII. PRAYER FOR RELIEF

 4          Plaintiffs pray for judgment against Gigsmart, as follows:

 5          1.      A declaratory judgment by this Court that the parties did not form a valid or

 6                  enforceable agreement to have claims resolved in Ohio or under Ohio law;

 7          2.      A preliminary injunction or other injunctive relief enjoining Gigsmart from

 8                  pursuing its claims against Plaintiffs in arbitration in Ohio and under Ohio law

 9                  without the consent of Plaintiffs;
10          3.      Appropriate injunctive relief under Business & Professions Code section 17200 et

11                  seq., including public injunctive relief;

12          4.      For costs of suit incurred herein; and

13          5.      Granting such other relief as may be just and proper.

14

15   Respectfully submitted:

16   DATED: April 15, 2024                                   NICHOLAS & TOMASEVIC, LLP

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